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AQ 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT
for the
District of Columbia

United States of America Case: 1:21-cr-00035

eee naire Assigned to: Judge Sullivan, Emmet G.
) Assign Date: 3/12/2021
) Description: SUPERSEDING INDICTMENT (B)
) Related Case: 21-cr-35 (EGS)

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fname of person io be arrested) JACK WADE WHITTON
who is accused of an offense or violation based on the following document filed with the court:

1 Indictment a Superseding Indictment O Information © Superseding Information O Complaint
© Probation Violation Petition C1 Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. §§ 117(aX1}, (b) (Assauiting, Resisting, or Impeding Certain Officers with a Dangerous Weapon); 18 U.S.C. §
111{a)(1), (Assaulting, Resisting, or Impeding Certain Officers); 18 U.S.C. 231(a)(3) (Civil Disorder); 18 U.S.C. §§ 1752(a)
(1) and (b}(1)(a) (Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon); 18
U.S.C. §§ 1752(a)(2) and (b){1}{a) (Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Dangerous or Deadly Weapon); 18 U.S.C. §§ 1752(a)(4} and (b)(1)(a) (Engaging in Physical Violence in a Restricted
Building or Grounds with a Dangerous or Deadly Weapon); and 40 U.S.C. § 5104(e)(2)(F) (Violent Entry and Disorderly

 

 

 

 

Candied in a Canitat Ruildines)
L Digitally signed by G. Michael
i Ads Harvey
Date: 03/12/2021 i | a Date: 2021.03.12 16:23:24 -05'00'
issuing officer's signature

City and state: | Washington, DC G. MICHAEL HARVEY, U.S. Magistrate Judge

Printed name and title
Return
This warrant was received on (date) 4 \\ (| ZO2\__, and the per 4|\ 120 Z\

 

   

at (cityandstate) | OONSY GOVE, GA
Date: 4| ila oa\

are

Elizabetn Uriaan, Speoial Agent

Printed name and

  

 

 
